
600 S.E.2d 853 (2004)
Christopher LANGDON
v.
THE N.C. DEPARTMENT OF TRANSPORTATION.
No. 338P00-2.
Supreme Court of North Carolina.
July 1, 2004.
Christopher Langdon, for Langdon.
Lisa C. Glover, Assistant Attorney General, Robert Crawford, Special Deputy Attorney General, for State.

ORDER
Upon consideration of the petition filed by Plaintiff on the 22nd day of June 2004 in this matter for a Writ of Mandamus and a Writ of Prohibition Reversing the Order of Superior Court Judge Baker Imposing Sanctions (03CVS173), the following order was entered and is hereby certified to the Superior Court, Polk County:
"Denied by order of the Court in Conference this the 1st day of July 2004."
Upon consideration of the petition for Writ of Mandamus and a Writ of Prohibition Reversing the Order of Superior Court Judge Baker Dismissing Plaintiff's Appeal (03CVS173) filed by Plaintiff on the 22nd day of June 2004 in this matter, the following order was entered and is:
"Denied by order of the Court in conference, this the 1st day of July 2004."
